Case 18-03639-5-JNC        Doc 21 Filed 09/05/18 Entered 09/05/18 16:23:05             Page 1 of 1

 SO ORDERED.
 SIGNED this 5 day of September, 2018.




                                              _____________________________________________
                                               Joseph N. Callaway
                                               United States Bankruptcy Judge


 ___________________________________________________________________



                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

  IN RE:                                                        CASE NO.

  JUAN SANCHEZ HYMAN                                            18-03639-5-JNC
                                                                CHAPTER 13
         DEBTOR


                                 ORDER DISMISSING CASE

         Pending before the court is the Order to Show Cause for Failure to File a Chapter 13 Plan
 issued on July 23, 2018, D.E. 17. A hearing was noticed for and took place on September 5, 2018
 in Greenville, North Carolina. The pro se debtor failed to appear at the hearing, and a Chapter 13
 plan has not been filed by him as ordered. Accordingly, the show cause order is allowed, and this
 case is DISMISSED.

                                     END OF DOCUMENT
